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AO 442 (Rev. 11/11) Arrest Warrant

UNITED STATES DISTRICT COURT

for the

ou . District of Columbia —
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\% United States of America
\ . )
Jacob Anthony Chansley ) Case: 1:21-MJ-00018
) Assigned to: Judge G. Michael Harvey
) Assigned Date: 1/8/2021
Description: COMPLAINT W/ ARREST WARRANT
Defendant
ARREST WARRANT
To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

(name of person to be arrested) — Jacob Anthony Chansley ,
who is accused of an offense or violation based on the following document filed with the court:

 

Indictment O Superseding Indictment O Information © Superseding Information wm Complaint
O Probation Violation Petition ©) Supervised Release Violation Petition OViolation Notice ( Order of the Court

This offense is briefly described as follows:

18 U.S.C. 1752 (a)(1) and (2)- Knowingly Entering or Remaining in any Restricted Building or Grounds Without Lawful
Authority
40 U.S.C. 5104(e)(2)(A) and (G)- Violent Entry and Disorderly Conduct on Capitol Grounds

G. Michael Harvey
2021.01.08 16:21:51

 

 

 

 

 

Date: 01/08/2021 -05'00'
Issuing officer's signature
City and state: | Washington, DC G. MICHAEL HARVEY, U.S. Magistrate Judge
Printed name and title
Return

 

 

This warrant was received on (date) , and the person was arrested on (date)
at (city and state) ,

 

Date:

 

Arresting officer's signature

 

Printed name and title

 

 
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AO 91 (Rev. 11/11) Criminal Complaint

 

UNITED STATES DISTRICT COURT

for the

District of Columbia

 

 

 

United States of America )
V. )
Jacob Anthony Chansley Case No.
)
)
)
Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of January 6, 2021 in the county of in the
District of Columbia , the defendant(s) violated:
Code Section Offense Description
18 U.S.C. 1752 (a)(1) and (2) Knowingly Entering or Remaining in any Restricted Building or Grounds

Without Lawful Authority

40 U.S.C. 5104(e)(2)(A) and (G) Violent Entry and Disorderly Conduct on Capito! Grounds

This criminal complaint is based on these facts:

See attached statement of facts.

ff Continued on the attached sheet.

[LEP

 

Complainant's signature

Special Agent James Soltes U.S. Capitol Police

 

Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by

Telephone (specify reliable electronic means). G. Michael Harvey

 

 

Date: 01/08/2021 G 2021.01.08 16:26:27 -05'00'
Judge's signature
City and state: Washington, DC G. Michael Harvey, United States Magistrate Judge

 

Printed name and title
, Case: 1:21-MJ-00018
:21-mj-00018-GMH *SEALED* D .
Case 1:21-m| o Assigned to: Judge G. Michael Harvey

Assigned Date: 1/8/2021
Description: COMPLAINT W/ ARREST WARRANT

STATEMENT OF FACTS"

On January 6, 2021, your affiant, James Soltes, was on duty and performing my official
duties as a Special Agent with the United States Capitol Police. Specifically, I am assigned to the
Criminal Investigations Section, tasked with investigating criminal activity in and around the
Capitol grounds. As a Special Agent with the United States Capitol Police, I am authorized by law
or by a Government agency to engage in or supervise the prevention, detention, investigation, or
prosecution of a violation of Federal criminal laws.

The U.S. Capitol is secured 24 hours a day by U.S. Capito! Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification are allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Vice President Mike Pence was present and presiding in
the Senate chamber.

With the joint session underway and with Vice President Mike Pence presiding, a large
crowd gathered outside the U.S. Capitol. Temporary and permanent barricades surround the
exterior of the U.S. Capitol building, and U.S. Capitol Police were present and attempting to keep
the crowd away from the Capitol building and the proceedings underway inside. At approximately
2:00 p.m., certain individuals in the crowd forced their way through, up, and over the barricades
and officers of the U.S. Capitol Police, and the crowd advanced to the exterior fagade of the
building. At such time, the joint session was still underway and the exterior doors and windows of
the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police attempted
to maintain order and keep the crowd from entering the Capitol; however, shortly after 2:00 p.m.,
individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows.
Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

Media coverage of these events showed one of the rioters who entered the Capitol building
dressed in horns, a bearskin headdress, red, white and blue face paint, shirtless, and tan pants. This
individual carried a spear, approximately 6 feet in length, with an American flag tied just below
the blade. The screenshots below of photographs posted on Twitter show this individual in the
halls of Congress and standing on the dais inside the Senate chamber.
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Several media outlets subsequently identified this individual as Jacob Anthony
CHANSLEY, a.k.a. Jake Angeli. Your affiant has confirmed this identification of CHANSLEY.
First, the photographs of CHANSLEY in the U.S. Capitol display unique attire and extensive
tattoos covering his arms and the left side of his torso. Your affiant has viewed pictures posted to
the Facebook account for Jake Angeli on December 13, 2020, in which CHANSLEY bears these
same distinctive attire and tattoos. In addition, CHANSLEY has a YouTube channel under the
name Jacob Chansley, on which a video posted of CHANSLEY from 2019 shows CHANSLEY
with sleeve tattoos on the lower half of his arms consistent with the sleeve tattoos CHANSLEY
displays in photographs taken in the Capitol on January 6, 2021. Finally, CHANSLEY has also
been identified by law enforcement through open source data bases, including his Arizona DMV

driver’s license photo, as the person depicted inside the Capitol and on the Senate dais on January
6, 2021.

In addition, on January 7, 2021, CHANSLEY called in to the Washington Field Office of
the FBI, to voluntarily speak with law enforcement. Your affiant and an FBI agent spoke on the
phone with CHANSLEY, who confirmed that he was the male in the face paint and headdress in
the Vice President’s chair in the Senate. CHANSLEY stated that he came as a part of a group
effort, with other “patriots” from Arizona, at the request of the President that all “patriots” come
to D.C. on January 6, 2021.

Based on the foregoing, your affiant submits that there is probable cause to believe that
CHANSLEY violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1) knowingly
enter or remain in any restricted building or grounds without lawful authority to do; (2) knowingly,
and with intent to impede or disrupt the orderly conduct of Government business or official
functions, engage in disorderly or disruptive conduct in, or within such proximity to, any restricted
building or grounds when, or so that, such conduct, in fact, impedes or disrupts the orderly conduct
of Government business or official functions; or attempts or conspires to do so. For purposes of
Section 1752 of Title 18, a “restricted building” includes a posted, cordoned off, or otherwise
restricted area of a building or grounds where the President or other person protected by the Secret
Service, including the Vice President, is or will be temporarily visiting; or any building or grounds
so restricted in conjunction with an event designated as a special event of national significance.
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Your affiant submits there is also probable cause to believe that CHANSLEY violated 40
ULS.C. § 5104(e)(2)(A) and (G), which makes it a crime to willfully and knowingly (A) enter or
remain on the floor of either House of Congress or in any cloakroom or lobby adjacent to that
floor, in the Rayburn Room of the House of Representatives, or in the Marble Room of the Senate,
unless authorized to do so pursuant to rules adopted, or an authorization given, by that House; and
(G) parade, demonstrate, or picket in any of the Capitol Buildings.

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SPECIAL AGENT JAMES SOLTES
UNITED STATES CAPITOL POLICE

 

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 8th day of January 2021.
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be” -05'00'
G. MICHAEL HARVEY
U.S. MAGISTRATE JUDGE

G. Michael Harvey

    

 
